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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                           X      24 Civ. 00104 (VSB)
CHRISTOPHER PAGAN, on behalf of himself and all
others similarly situated,
                                                                  PROPOSED
                                   Plaintiff,                     ORDER FOR DEFAULT
                                                                  JUDGMENT
          -against-

LUCCELLO, INC. d/b/a ITSHOT.COM,

                                   Defendant.
                                                           X

       This action having been commenced on January 5, 2024, by the filing of the Summons and

Complaint, and a copy of the Summons and Complaint having been personally served on Defendant

on January 23, 2024, by the utilization of Meridian Investigations and Services, and proof of service

having been filed on February 13, 2024, and the Defendant not having answered the Complaint,

and the time for answering the Complaint having expired, and the Clerk of the Court having issued

a Certificate of Default on March 5, 2024, it is hereby:

       ORDERED, ADJUDGED AND DECREED:

                a. A preliminary and permanent injunction to prohibit Defendant from violating
                   the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec.
                   Law § 296, et seq., N.Y.C. Administrative Code § 8-107, et seq., and the laws of
                   New York is granted;

                b. A preliminary and permanent injunction requiring Defendant to take all the steps
                   necessary to make its website into full compliance with the requirements set
                   forth in the ADA, and its implementing regulations, so that the website is readily
                   accessible to and usable by blind individuals, is granted;

                c. A declaration that Defendant owns, maintains and/or operates its website in a
                   manner that discriminates against the blind and which fails to provide access for
                   persons with disabilities as required by the Americans with Disabilities Act, 42
                   U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., N.Y.C. Administrative
                   Code § 8-107, et seq., and the laws of New York, is granted;

                d. An award of compensatory damages in the amount of $1,000.00 under the New
                   York City Human Rights Law is granted;

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            e. An award of costs in the amount of $3,338.75 is granted; and

            f.   An award of attorney’s fees in the amount of $7,285.00 is granted;


Dated: New York, New York
       March 15, 2024




                                                 HON. VERNON S. BRODERICK, U.S.D.J.




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